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                                 AFFIDAVIT IN SUPPORT OF
                                  CRIMINAL COMPLAINT


       I, William C. Borromeo, being duly sworn, state as follows:



                     INTRODUCTION AND AGENT BACKGROUND

       1.      I am a Special Agent with the Federal Bureau of Investigation and have been

since June 2010. I am currently assigned to the San Antonio Division, Joint Terrorism Task

Force (JTTF). I have conducted and participated in physical and electronic surveillance,

execution of arrest warrants, debriefings of Confidential Human Sources (CHS) and Cooperating

Witnesses (CW), reviews of recorded conversations and criminal records, and subject interviews

and interrogations. I have also received training on open source an d social media platforms and

through my training, education, and experience, I have become familiar with violent domestic

extremist groups and their methods of communication in order to plan and carry out attacks

while avoiding detection by law enforcement. My primary duty and current assignment is to

conduct investigations targeting violent domestic extremists and individuals involved in illegal

activities as members of extremist organizations.

                     TITLE 18 U.S.C. 5845(b): Definition of Machinegun

       1.      Title 18, United States Code, § 5845(b) states in full: “The term ‘machinegun’

means any weapon which shoots, is designed to shoot, or can be readily restored to shoot,

automatically more than one shot, without manual reloading, by a single function of the trigger.

The term shall also include the frame or receiver of any such weapon, any part designed and

intended solely and exclusively, or combination of parts designed and intended, for use in
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converting a weapon into a machinegun, and any combination of parts from which a machinegun

can be assembled if such parts are in the possession or under the control of a person.”

        2.      The facts in this affidavit come from my personal observations, my training and

experience, and information obtained from other agents and witnesses. Based on my training,

experience, and the facts a set forth in this affidavit, I believe there is probable cause that a violation

of Title 18 U.S.C § 922(o) was committed by CALEB NATHANIEL OLIVER. Title 18 U.S.C §

922(o) makes it unlawful for any person to transfer or possess a machinegun.

        3.      Because this affidavit is submitted for the limited purpose of securing auth orization

for a Criminal Complaint and Arrest Warrant, I have not included each and every fact known to

me concerning this investigation. This affidavit is intended to show that there is sufficient probable

cause for the requested warrant.

                                         PROBABLE CAUSE

        4.      FBI San Antonio has been conducting an investigation of Iron Youth. The

investigation has established that the group is a racially motivated violent extremism group, which

advocates violence in the furtherance of its objectives. Iron Youth is a self -proclaimed “European

ethnic nationalist group dedicated to the preservation of Europeans and the future struggle against

the system". The group's avowed goal is to prepare its members for the future collapse of the

“system” and the subsequent fight for dominance and control that will ensue.


        5.      FBI San Antonio successfully inserted two undercover employees (UCE 1 and

UCE 2) into Iron Youth through the group’s online vetting process via Telegram.


        6.      UCE 2 met with Oliver in person on September 12, 2020 in Floresville, Texas.

During that meeting, Oliver revealed historical plans for an attack. Oliver stated that h e and another

member (Subject 1) had planned to attack Buzzfeed Headquarters in New York, but the plan was

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never carried out due to the distance of travel it would require. Oliver stated that he had a friend

in San Antonio who could sell him military grade armor and weapons, to include suppressors; and

if UCE 2 ever needed anything, to just let him know.


       7.      On September 25, 2020, UCE 2 met with Oliver in person in La Vernia, Texas.

During that meeting, Oliver stated that he had experimented with acid about a month prior to the

meet. Oliver also spoke about the civil unrest in downtown San Antonio in May of 2020. Oliver

stated that he and Subject 1 had plans to go to the event to make it worse. Oliver described that

tools could be acquired from a hardware store for such an instance; and mentioned obtaining a

pressure cooker. Oliver stated that he has gone to the extent of learning how to make thermite on

YouTube. From my experience and training, thermite is a pyrotechnic which can be used in making

incendiary devices.


       8.      On November 7, 2020, UCE 1 and UCE 2 met with Oliver and Subject 1 at Oliver’s

grandparent’s property in San Antonio, Texas. During th at meeting, Oliver had brought two

shotguns. The group discussed Biden’s victory in the Presidential election, to which Subject 1

replied, “I’m about to make Lee Harvey Oswald look like a joke.” Oliver expressed to UCE 2 that

he wanted to acquire a fully automatic weapon so that he could “fully let loose.” Oliver then

suggested alternative ways to convert a semi-automatic firearm to a fully automatic such as drilling

holes and adding parts.


       9.      On November 8, 2020, UCE 1 and UCE 2 met with Oliver in Floresville, Texas.

During the meeting, Oliver spoke about his history of drug use and stated that he has used

marijuana, mushrooms, cocaine, and acid. Oliver offered to provide narcotics to UCE 1. Oliver

stated that he has a 1911 pistol but wants to acquire more weapons.


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       10.     On December 4, 2020, UCE 2 met with Oliver in La Vernia, Texas. During the

meeting, Oliver suggested that Subject 1 was disappointed in Iron Youth’s lack of motivation to

commit domestic terrorism. Oliver stated that Subject 1 would definitely do an attack and he has

already put money into it. Oliver stated that he wants to get with Subject 1 about a plan. Oliver

stated that he is going to buy a rifle soon but would like to get one illegally so that the

government would not know about it. Oliver showed interest in getting a firearm that was fully

automatic. Oliver stated that he knows a few guys who could get him a fully automatic gun under

the table. Oliver stated that he could get a hold of his contact from a pawn shop through

Instagram. Oliver stated that he has plenty of money to complete such a purchase. Oliver stated

that he had to take mushrooms recently just to get through his latest job that his company was

contracted to work. Oliver stated that he has a friend who acquires narcotics from a d ealer in

Houston about twice a month for him.


       11.     On December 10, 2020, UCE 1 and UCE 2 met with Oliver in Floresville, Texas.

During the meeting, Oliver stated that if UCE 1 has a connection to acquire a fully automatic

weapon, then he definitely wants in on it. Oliver stated to just give him a price and he is in.

Oliver also discussed a Google document that was shared between group members titled

“Operation Whiteout.” (Instagram search warrant returns revealed that this document was shared

between Subject 1 and Oliver on September 9, 2019). Oliver described Operation Whiteout as

action for Iron Youth to distribute propaganda in the winter months and the period surrounding

the presidential election. Oliver discussed the possibility of the Biden administration banning

assault rifles. Oliver suggested dispersing the police force and then “fuck them up.” Oliver also

suggested cutting down cables which are holding up cellular towers.




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       12.     On December 17, 2020, UCE 2 met with Subject 1 and Oliver at Subject 1’s

residence in Floresville, Texas. During the meeting, Subject 1 expressed frustration with Iron

Youth not doing any action.


       13.     On January 15, 2021, UCE 2 met with Oliver at his residence in Smiley, Texas.

During the meeting, Oliver suggested starting a new group with Subject 1, stemming from Iron

Youth, with him as the leader for the purpose of conducting illegally activity. Oliver stated that

he wanted to acquire a weapon soon, and that he would spend up to $1,000 or $2,000 for a fully

automatic firearm.


       14.     On January 31, 2021, UCE1 and Oliver communicated on a voice call. UCE1

told Oliver that purchasing the fully automatic gun from his gun supplier, in a deal, would be

illegal. Oliver told UCE1 that he knows it is illegal and that is why he wants the gun.

Furthermore, UCE1 told Oliver he did not have to do the gun deal and it was up to Oliver to do

so. Oliver told UCE1 he wanted to purchase the gun.


       15.     On February 2, 2021, UCE1 and Oliver communicated on a voice call. UCE1

told Oliver he did not have to do the gun deal and UCE1 just needed to let Oliver know that.

Oliver told UCE1 he wanted to do the gun deal. Oliver stated he would be available Friday night

to purchase the gun. UCE1 confirmed the time and indicated his gun supplier would be coming

into town on Friday night (February 5, 2021) as per Oliver’s request. UCE1 asked Oliver if he

could do the gun deal before dinner, near Oliver’s brother’s house, at a gas station in Stockdale,

Texas. Oliver agreed to the location and both Oliver and UCE1 agreed to the time 7:30PM CST

for the gun deal. During the voice call, UCE1 and Oliver discussed that the price of the fully

automatic gun (Glock) would be $1000.00. Oliver agreed to the price of $1000.00.


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